              Case 3:21-cv-05290-RSL Document 23 Filed 10/13/21 Page 1 of 2




 1
 2
 3
 4
                                  UNITED STATES DISTRICT COURT
 5                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 6
     ____________________________________________
 7                                                )
     JUSTIN HILLIARD, et al.,                     )
 8                                                )                     Case No. C21-5290RSL
                           Plaintiffs,            )
 9              v.                                )
                                                  )                     ORDER TO SHOW CAUSE
10   MAXIM HEALTHCARE SERVICES, INC., et al.,     )
                                                  )
11                         Defendants.            )
     ____________________________________________ )
12
13          On May 5, 2021, the Court issued an order requiring the parties to file a Joint Status
14   Report by June 2, 2021. No such report has been filed, and the parties have not sought or
15   obtained an extension of time in which to make the required submission. Under Section III.
16   Plaintiff’s Responsibility, plaintiff’s counsel (or plaintiff, if pro se) is responsible for starting the
17   communications needed to comply with the Order. Plaintiffs shall, no later than Friday, October
18   29, 2021, initiate communication with defendants’ counsel and file their Joint Status Report no
19   later than Friday, November 12, 2021. Plaintiffs shall also show cause to the Court why
20   sanctions including dismissal should not be imposed for their failure to comply with the Order of
21   May 5, 2021. The Clerk is directed to place this Order to Show Cause on the Court’s calendar
22   for November 12, 2021. The Clerk is further directed to mail this Order to both plaintiffs at the
23   following addresses:
24
25
26

     ORDER TO SHOW CAUSE
             Case 3:21-cv-05290-RSL Document 23 Filed 10/13/21 Page 2 of 2




 1   1405 Clearbrook Dr. SE, Apt. B205
     Lacey, WA 98503
 2
 3   5812 Titleist Ln. SE, Apt. F102
     Lacey, WA 98513
 4
 5
 6                DATED this 13th day of October, 2021.
 7
 8
 9
                                            A
10                                          Robert S. Lasnik
                                            United States District Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

     ORDER TO SHOW CAUSE                         -2-
